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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


          In re: PARAQUAT PRODUCTS                          Case No. 3:21-md-3004-NJR
          LIABILITY LITIGATION
                                                            MDL No. 3004
          This Document Relates to All Cases




      SPECIAL MASTER’S SUPPLEMENTAL REPORT AND RECOMMENDATION
       REGARDING OVERDUE PLAINTIFF ASSESSMENT QUESTIONNAIRES

       On March 20, 2025, the Special Master filed a report (Doc. No. 5571) and recommended

that the Court dismiss 117 cases due to lack of response in filing Plaintiff Assessment

Questionnaires pursuant to Case Management Order No. 10 (“CMO 10”). All 117 cases were

identified by name in Exhibit A that was filed with the Report and Recommendation.

       On June 2, 2025, the Court adopted the Special Master’s Report and Recommendation (Doc.

No. 5639). Between March 20, 2025, and June 2, 2025, certain plaintiffs served 37 PAQs and

dismissed 11 cases that were on Exhibit A. The Special Master has conferred with counsel for

plaintiffs for the 48 cases and defendants. All parties confirmed with the Special Master that Exhibit

A should be modified to remove these 48 cases. Therefore, the Special Master submits a modified

Exhibit A and asks the Court to adopt accordingly.




DATED: June 16, 2025

                                                       s/ Randi S. Ellis
                                                       Randi S. Ellis
                                                       Court-Appointed Special Master
